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IN THE UNITED STATES DlSTR_[CT COURT 35"/&;,!4, s §§
FOR THE WESTERN DISTRICT OF TENNESSEE l f `9 gaf '
EASTERN DIVISION '~"¥" al /.?
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
)
VS. ) No. 04-10050-T

)
)
BILLY WAYNE MooRE, )
)
Defendant. )

 

ORDER GRANTING l\/IOTION TO PROVIDE FUNDS FOR TRANSCRIPTS

 

On June 2, 2005, a motion Was filed on behalf of defendant Billy Wayne Moore
seeking leave to obtain transcripts ofboth the suppression hearing held in this case on May
2, 2005, and a previous trial held in the Circuit Court for Madison County, Tennessee on
l\/lay l(), 2005. Counsel for the defendant states that the trial in Circuit Court involved the
same incident Which gave rise to the charge in this case. Therefore, counsel states that
transcripts of both the prior state court trial and the suppression hearing in this case are
necessary in order to properly prepare for the trial in this case.

The Court finds that defendant has made a sufficient showing that the transcripts
requested are necessary for adequate representation in this case. Therefore, the request to

provide funds for the transcripts is GRANTED. Counsel states that a CJA 24 form has been

`_"‘!hta¢dccument entered on the docket e ln compliance
with Rute 55 and!or 32(b) FHCrP pn __EIQ_,_Q§_

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submitted with regard to the suppression hearing; counsel must also submit a CJA 24 form
With regard to the prior state court trial.

IT lS SO ORDERED.

Qh/Wb-M

JAi\§Es D. ToDD
UN TED sTATEs DlsTRICT JUDGE

§z/pw QMS/

DATE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
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Honorable .l ames Todd
US DISTRICT COURT

